Case 6:18-bl<-01775-CC.J Doc 34 Filed 09/10/18 Page 1 of 4

Fi|| in this information to identify your case:

Debforl James E. Lamca
First Name Midd|e Narne Lasl Name

 

Debtor 2
(Speuse if, filing) Férst Name Midd|e Name l_asl Name

 

United States Bankruptcy Court for the: MIDDLE D|STR|CT OF FLOR|DA, ORLANDO DIV|S]ON

 

Case number m§_:_'l_ 8-bk-01775-CCJ
(irknown) [| Check if this is an

amended filing

 

 

 

Ofiicial Form 108
Statement of lntention for individuals Fi|ing Under Chapter 7 ms

 

|f you are an individual filing under chapter 7, you must fill out this form if:
- creditors have claims secured by your property, or

l you have leased personal property and the lease has not expired.

You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors.
whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
on the form

lf two married people are filing together in a joint case, both are equally responsible for supplying correct inforrnation. Both debtors must
sign and date the form.

Be as complete and accurate as possib|e. if more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known).

L'rst Your Creditors Who Have Secured C|aims

1. For any creditors that you listed in Part 1 of Schedu|e D: Creditors Who Have C|aims Secured by Property (Officia| Form 1060), fill in the
information below

 

    

 

Creditc‘rls Bank Of Ame\’ica - Surrender the propertyl l NO
namet l:l Retain the property and redeem it.

|:l Retain the property and enter into a m Yes
DeSCFlDinn Of 1142 East Normandy Boulevard Reaffirmation Agreement.
Property D&|tona, FL 32725 VO|uSia lZl Retain the property and [exp:ain];

securing debt County
Lot 11 B|k237 Deltona Lakes
Unit 5 MB 25 Pgs127-138|nc
PER on 4135 Pg 1136

 

C"edit°r's Ba¥VieW Loan Servicing - Surrender the property. - No
name: |:l Retain the property and redeem it.

_ _ [:`l Retain the property and enter into a m YES
DESCHDUOH Of 1142 East Normandy Boulevard Re@rrirmatjon Agreemenr_
PFOPEFW Deltona, FL 32725 VO[USia l:l Retain the property and [exp|ain]:

securing debt COUl’\ty
Lot 11 Bfk237 Deltona Lakes
Unit 5 MB 25 Pgs 127-138 inc
PER OR 4135 Pg 1136

 

Gflicial Forrn 108 Statement of |ntention for individuals Filing Under Chapter 7 page 1

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Fi|| in this information to identify your case:

 

 

 

Debtor 1 James E. Lamca

First Narne Niiddie Namo Last Name
Debtor 2
(Spouse rf, iiilngi Firsi Narne rvirddie Name Last Narne

United States Bankruptcy Court for the: MiDDLE DiSTRiCT OF FLOR|DA, ORLANDO DiViSiON

 

iCrrlse number 6:18-bk-01775~CCJ
§irl‘ knowni |:] Check if this is an
z amended iiiing

 

 

Ofiiciai Form 108
Statement of intention for individuals Filing Under Chapter 7 mrs

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-_i,ist Your Creditors Who Have Secured C|aims

1. For any creditors that you listed in Part 1 of Schedu|e D: Creditors Who Have C|aims Secured by Property (Officiai Forrn ‘lOBD), fiii in the
information below

  

Creditor'$ Bank of Ame"ica - Surrender the property. l No
name.' L__l Retain the property and redeem it.

El Retain the property and enter into a n Yes
DE-‘SCriniOl'l Of 1142 East Normandy Bouievard Reafrirmatron Agreement.
motleny DeltOl`lar FL 32725 VO|USEB l:l Retain the property and [expiain]:

securing debt; County
Lot 11 E|k237 Deitona Lakes
Unit 5 MB 25 Pgs 127-138 inc
PER OR 4135 Pg 1136

 

 

Creditors Bayview L°an Sen'icing l Surrender the property. - NO
name: l:i Retain the property and redeem it.

4 0 |:l Retain the property and enter into a 5 YES
DesGrlpthl’l Ol 1142 East Normandy Boulevard Ream'nnarjon Agreemenr,
property Deitona, FL 32725 VOluSia ill neiein the property end rexprainl:

securing debt: County
Lot 11 Bik237 Deitona Lakes

Unit 5 MB 25 Pgs 127-138 inc
PER OR 4135 Pg 1136

 

 

Ofncial Form 108 Statement of intention for individuals Filing Under Chapter 7 page 1

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Debf€>rl James E. Lamca Case number rrr!<nowni 6:18~bk-01775-CCJ
Creditors Nationstar illiorigage l gurrender the property I No
name: l:l Retain the property and redeem it.
_ _ l:l Retain the property and enter into a m YES
Descrlpfrr>n Of 4424 Mayfield Lane Vaidosta, Reefrrrmarron Agreemeni.
Property GA 31605 LOW|`|deS county l:l Retain the property and [explain]:

securing debt:

 

 

Cred§fol"$ Sprlngleaf Financial l:l Surrenderthe property. l:l No
anE? l:l Retain the property and redeem it.

_ _ _ _ l Retain the property and enter into a - YES
Descrlptlon Df 2008 Lincoln MKX 143000 miles Reamrma,,bn Agreement'
Property good condition i:| Retain the property and [explain]:

securing debt

 

 

List Your Unexpired Persona| Property Leases

For any unexpired personai property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 105G}, fill
in the information beiow. Do not list real estate |eases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p){2).

 

 

Lessor's name: |:| NC,
Description of leased

Property: l:l Yes
Lessor's name: [:| NO
Description of leased

Property: |:i Yes
Lessor's name: |____| NO
Description of leased

Property: [:| Yes
Lessor's name: |:| NO
Description of leased '

Property: |:] Ye$
Lessor's name: |:] No
Description of leased

Property: m Yes
Lessor's name: [____| NO
Description of leased

Property: m Yes
Lessor's name: [___] ND
Description of leased

Property: l:] Yes

Sian Bel<>w n __

 

    
  

 

Under pena hat i have indicated my intention about any property of my estate that secures a debt and any personal
property that _
x X ,_ ,
Signature of Debtor 2
Ofncial Form 108 State`m'ent of intention for individuals Filing Under Chapter 7 - page 2

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Debtori James E.Lamca . Case numberriri<nown) 6:13-bk-01775-CCJ

 

 

Signaiure of Debtor 1

Date Q\i ll wl/][S Daie

 

Ofncial Form 108 Statement of intention for individuals Filing Under Chapter 7 page 3

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